UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 1:21-cv-10596-IT

 

TRICIA THOMAS
Plaintiff,

V.

CITY OF BOSTON,

BOSTON POLICE DEPT.,

OFFICER MARTIN J. HEDDERMAN, Individually

and as employee of BOSTON POLICE DEPT.,

OFFICER BRENDAN E. CAVANAUGH, Individually

and as employee of BOSTON POLICE DEPT.,

LIEUTENANT SEAN P. SMITH, Individually

and as employee of BOSTON POLICE DEPT.,
Defendants.

 

PLAINTIFF’S MOTION IN OPPOSITION TO DEFENDANT’S LIEUTENANT SEAN P.
SMITH, MOTION FOR JUDGMENT ON THE PLEADINGS PURSUANT TO FED. R.

CIV. P. 12(c)

NOW COMES the Plaintiff, Tricia Thomas (hereinafter “Thomas”) requesting that this
Court deny the Defendant, Sean P. Smith (hereinafter “Lt. Smith”) motion for judgement on the
pleadings pursuant to Fed. R. Civ. P. 12(c). Thomas has sufficiently alleged against Lt. Smith the
following counts: (1) a violation of 42 U.S.C. §1983 (Count I); (2) Intentional Infliction of
Emotional Distress (Count III), (3) Negligent Infliction of Emotional Distress (Count IV); (4)
False arrest (Count V); (5) False imprisonment (Count VI); and (6) Negligent Training and
Supervision (Counts VIII and IX).

Thomas submits a memorandum of law in support of this motion requesting that this
Honorable court deny the Lt. Smith’s Motion for Judgement on the Pleadings.

I. FACTS AND BACKGROUND
The Plaintiff, Tricia Thomas, is a single mother who owns a dwelling at 15 Centerville
Park, Boston, MA. Pl.’s Sub. Compl. J 11. On Mother’s Day of 2018 (May 13), she called the
police to report a disturbance caused by her brother who was trying to gain unwanted access to
her unit. Id. at 9 11, 13. Officers Hedderman and Cavanaugh arrived and began to make
racially prejudicial comments to Ms. Thomas, such as: “You don’t own no house,” and “How
you own this house?” Id. at ¥ 14.

Later in the day, Ms. Thomas’s sister and brother-in-law attempted to gain unwanted
access to Ms. Thomas’s unit, threatening her with grave physical harm if she failed to give acess.
Id. at J 15. Despite Ms. Thomas’s rejection of their entry due to feelings of imminent danger
that they imposed, Ms. Thomas’s sister phoned the police and lied, stating that there was a
“black woman on the porch with a gun.” Pl.’s Sub. Compl. 7 16. Officers Hedderman and
Cavanaugh returned to the dwelling and immediately pushed her through the front door. Id. at |
17. After this they carried Thomas outside, placed her face down on the ground, and handcuffed
her in front of her two minor sons on Mother’s Day. Id. at 20.

The incident was captured on video and shows the officers acting with excessive force
and arresting Ms. Thomas on a charge of elder abuse without probable cause. Id. at { 18, 22.

The officers did so after phoning Sergeant Smith who advised them to arrest her on that charge.
Pl.’s Sub. Compl. § 21-22. Ms. Thomas was not read her Miranda rights at any point in time.
Id. at ] 24. The use of excessive force continued when she was brought to the C-11 precinct and
placed in a cell where the officers ripped beads and hair out of her head, broke her gold bracelet
and caused bruising to her wrist and ankles. Id. at J 24, 26. The officers again contacted
Sergeant Smith when it was time to process Ms. Thomas. Id. at 25. After placing her back in

her cell the officers deliberated on what she was to be charged with, demonstrating little
knowledge on what was relevant to a charge of elder abuse or why she was arrested and
incarcerated. Id.

Ms. Thomas was denied a phone call to an attorney, an attorney was denied access to her,
and bail was set for $3,000. Id. at ] 27. Her hands were shackled as she was transferred from C-
11 to South Boston, and then from South Boston to Dorchester Court by paddy wagon in the
morning. Id. While she was set to be arraigned, authorities became aware of the video of her
arrest and so the arraignment was postponed for two weeks. Id. She was released from custody
but told to stay away from the home she lived in with her two minor sons for the two weeks until
the arraignment. Pl.’s Sub. Compl. $28. On the date of arraignment, the video was played and
the district attorney and judge concluded that Ms. Thomas could not be arraigned on any of the
filed charges. Id.

Ms. Thomas’s quality of life has declined since the incident of brutality at the hands of
the Boston Police. Id. at 29. She entered therapy for treatment of her post-traumatic stress
syndrome shortly after and continues to receive treatment to this day. Id. As a registered nurse,
Ms. Thomas’s personal and professional reputation has been seriously damaged as a result of the
incident. Pl.’s Sub. Compl. § 23. She and her children suffer from constant fear of the police
and no longer feel safe in their home. Id. at 4 30.

Ms. Thomas seeks compensatory damages, punitive damages, and legal costs from
Defendants for discrimination and violation of 42 U.S.C. § 1983, assault and battery, intentional
infliction of emotional distress (IIED), NIED, false arrest, false imprisonment, and negligent
training and/or supervision. Id. at § 61.

I. STANDARD OF REVIEW
A rule 12(c) motion is viewed in the same manner as 12(b)(6) motion with the only
difference is that a 12(c) motion considers the pleadings as a whole. See Aponte-Torress v. Univ.

of Puerto Rico, 445 F.3d 50. 54 (1% Cic. 2006). Either motion will not affect the analysis

 

inasmuch as the two motions are ordinarily accorded much the same treatment. Id.

The pleading standard in Federal Rule of Civil Procedure 8(a)(2), does not require
“detailed factual allegations,” but it demands more than the defendant-unlawfully-harmed-me
accusation. Ashcroft v. Iqbal 556 U.S. 662, 679 (2009). To survive a motion to dismiss, a
complaint must contain sufficient factual matter accepted as true, to “state a claim to relief that is
plausible on its face. Id, at 679. A claim has facial plausibility when the plaintiff pleads factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged. Id at 679. In considering a motion to dismiss, the Court is obliged to accept
the Plaintiff's well pleaded facts as they appear, granting every reasonable inference in the
plaintiff's favor. See. Copperman v. Individual, Inc., 171 F.3d 43,46 (1™. Cir. 1999).

Il. ARGUMENT
A. Plaintiff has sufficiently pleaded counts 1, 3, 5 and 6 to allow this court to
Reasonably infer Plaintiff is entitle to relief against Lt. Smith.
1. There was not sufficient probable cause for Plaintiff's arrest
and thereby, Thomas’s §1983 (count I), False Arrest (count 5),
and False Imprisonment (count 6) claims were sufficiently
pleaded.

Lt. Smith asserts that Thomas’s false arrest, false imprisonment and §1983 claim should

be dismissed because probable cause existed to arrest the Plaintiff. Lt. Smith did not have

probable cause to order Hedderman and Cavanaugh to arrest Plaintiff for the following reasons.
Determining whether an officer had probable cause to arrest an individual entails
examining the events leading up to the arrest, and then deciding whether these historical facts,
viewed from the standpoint of an objective reasonable police officer amounts to probable cause.
Md v. Pringle, 540 U.S. 366, 371 (2003). The degree of certainty “falls somewhere between bare
suspicion and what would be needed to justify conviction.” Burke v. Town of Walpole, 405 F.3d
66, 80 (1* Cir. 2005). Moreover, the fourth amendment demands “reasonably trustworthy facts
and circumstances that would enable an objectively reasonable police officer to believe that the
arrestee has committed a crime. Acosta v. Ames Department Stores, Inc., 386 F.3d 5, 10 (1*. Cir.
2004).

Police officers may rely upon the credible complaint by a victim to support the finding of
probable cause. Forest v. Pawtucket Police Dep’t, 377 F.3d 52, 57 (1 Cir. 2004). However, the
First Circuit recognized that probable cause does not automatically exist simply because police
act on information provided by an alleged victim of a crime. B.C.R. Transport Co. v. Fontaine,
727 F.2d 7, 10 (1* Cir. 1984). When there are indicia of unreliability, further investigation to
corroborate an alleged victim’s complaint may be necessary to find probable cause. Fraser v.
Massachusetts Bay Transportation Authority, No. CA 20-11654-FDS, 2021 WL 2458203, at *8.
Whether or not probable cause exists in any given case invariably depends on the particular facts
and circumstance of that case, a question to be resolved by the trier of fact. B.C.R. Transport Co.

727 F.2d at 10.

The court came to a similar conclusion in Lewis v. Kendrick, 944 F.2d 949 (1* Cir.

 

1991), that unreliable information does not establish probable cause. In this case the alleged

victim stated to police that her neighbor had threatened her with a knife. Lewis, 944 F.2d at 952.

 

After hearing the victim’s complaint, the officer immediately arrested the neighbor without
questioning anyone else at the scene, including the neighbor, and without searching for the knife.
Id. Police failed to take the opportunity to establish probable cause by searching for the knife or
questioning the many witnesses. Id. The court concluded that based on those facts, “particularly
that the police saw no knife, and without questioning others at the scene, probable cause did not
exist and therefore, the plaintiff's claims that pertain to the false arrest are not dismissed. Id.

The within case is similar to the above case. The alleged victim, sister, called the police
falsely alleging that Thomas had a gun on the porch. When the police arrived, the scene was
calm and there was no gun in sight. The police did not search for a gun nor did they question the
many witnesses at the scene. Instead the police used unreliable information without any attempt
to corroborate said information. The information is unreliable because there is a family dispute in
Thomas’s family and the police had knowledge of said dispute because they responded to a call
earlier that day. For these reasons, the police did not have probable cause to arrest Thomas
because they used zero corroborating evidence to verify the well-known unreliable information.

The court in Fraser v. Massachusetts Bay Transportation Authority, No. CA 20-11654-
FDS, 2021 WL 2458203, found that an unreliable witness’s complaint was sufficient for the
officer to find probable cause. The victim alleged that Fraser sexually assaulted her on a bus.
Fraser at 3. Despite the victim being a recidivist criminal, the police officers found no other
circumstances that would raise a reasonably prudent officer to question the reliability of said
accusation. Id. For this reason, the court found that the police officers had probable cause to
arrest Fraser.

The within case is not similar to the case above. The police officers had substantial
amounts of information that would allow a reasonable prudent police officer to question the

reliability of the complaining victim which does not support probable cause. B.C.R. Transport
Co. v. Fontaine, 727 F.2d 7, 10 (1984). First, the police were aware that there was a lawsuit
concerning the ownership of the house, which any reasonably prudent police officer would
realize there is an internal dispute amongst the family and more information is required to obtain
probable cause. The officers’ knowledge concerning the ownership of the house is evident
because the police were making racial remarks to Plaintiff such as “you don’t own no house”.
Secondly, Thomas called the police earlier and the same officers responded. A reasonably
prudent police officer would suspect that this call by her sister is to retaliate against Thomas for
the earlier call to the police. Thirdly, when the officers arrived the scene was very calm, evidence
by a video. A reasonably prudent police officer would realize that if a gun was present, then the
behavior by bystanders would be much more chaotic and fearful. Lastly, a reasonably prudent
police officer would have realized that Thomas is a respectable nurse with her children at the
scene and that it is highly unlikely that Thomas would be waiving a gun around putting her
children in danger.

Accordingly, there was no probable cause to arrest Thomas and therefore, Thomas’s false
arrest, false imprisonment, and § 1983 claims should not be dismissed against Lt. Smith because
the officers called Lt. Smith requesting some guidance on what to do and he instructed the
officers to arrest the Plaintiff, despite there being no probable cause. Lt. Smith did not inquire or
care about what probable cause there was to arrest Thomas. The facts alleged support that Lt.
Smith instructed the officers to arrest her because the purpose of the call was to get advice from a
supervising officer, in this case Lt. Smith. For these reasons, the court must deny Lt. Smith’s
request to dismiss the above claims.

2. Plaintiff has sufficiently pleaded intentional infliction of emotional

Distress.
The elements of intentional infliction of emotional distress are “(1) the [defendant]
intended, knew, or should have known that his conduct would cause emotional distress; (2) that
the conduct was extreme and outrageous; (3) that the conduct caused emotional distress; and (4)
that the emotional distress was severe. Polay v. McMahon, 468 Mass. 379, 385 (2014). The
defendant’s conduct must be extreme and outrageous, beyond all possible bounds of decency,
and utterly intolerable in a civilized community. Keenan v. Wells Fargo Bank, N.A., 246 F.
Supp. 3d 518, 527 (D. Mass. 2017).

Instances of unlawful arrest can support an intentional infliction of emotional distress
claim when the officer has engaged in “extreme and outrageous conduct” toward the plaintiff
prior to, or in the course of the arrest. McDonald v. City of Boston, 344 F. Supp. 3d 429, 443 (D.

Mass. 2018).

In the case of Barobosa v. Conlon, 962 F. Supp. 2d 316 (2013), the court found that three

 

plaintiffs, two arrested with probable cause and one without probable had a claim against the
officers for intentional infliction of emotional distress. Plaintiff 1 was handcuffed and then

thrown against a wall, thrown outside onto a porch and dragged to a police cruiser. Barbosa

 

F.Supp. 2d at 324. Plaintiff 2 was handcuffed, dragged by her arm and hair, and pulled down the
porch steps to the police cruiser. Id at 324. Upon arrival at the police station, Plaintiff 1 and 2
were verbally abused about their ethnicity and denied medical treatment for injuries caused by
the excessive police force. Id at 325. Plaintiff 3 arrived at the police station to check on Plaintiff
1 and 2. Id at 325. The police demanded Plaintiff 3 leave and when she rightfully refused, the
police got physical with her and arrested her without probable cause. Id at 325. The court found

in combination with the excessive force used, denial of medical treatment, and comments like
“go back to your country, and “immigrant bitch”, Plaintiffs sufficiently pleaded intentional
infliction of emotion distress. Id at 336.

In the within case, Plaintiff alleges similar facts to Boylston v. Conlon that sufficiently
pleads intentional infliction of emotional distress. First, she was arrested without probable cause
making it an unlawful arrest, in which may be deemed extreme and outrageous conduct.
McDonald v. City of Boston, 344 F. Supp. 3d 429, 443 (D. Mass. 2018). Lt. Smith knew there
was no probable cause to arrest Thomas for elder abuse because the officers relied on zero
credible information to charge her with said crime. Secondly, racial slurs were said to Thomas by
the police officers. These racial slurs were intended to poke fun at how Thomas a black woman
speaks. Next, the police officers subjected Thomas to excessive force by pushing her down to the
ground, slamming her face into the ground, and aggressively handcuffing her while she was
showing no signs of resistance. Lastly, the police officers unlawfully arrested her in front of her
minor children and entire family. Before instructing his employees to arrest Thomas, Lt. Smith
should have inquired more about the scene because he was not there and therefore, was not
qualified to make that decision to arrest Thomas. These facts satisfy the sufficient pleadings of
intentional infliction of emotional distress.

Therefore, Lt. Smith was acting in concert with Hedderman and Cavanaugh and was the
driving force to falsely arrest and charge Thomas. Therefore, Lt. Smith instructing his officers to
conduct a false arrest is a sufficient allegation to plead intentional infliction of emotional
distress.

J. Lt. Smith is not protected by qualified immunity.
The doctrine of qualified immunity protects government officials from damages under

civil liability insofar as their conduct does not violate clearly established statutory or
 

constitutional rights of which a reasonable person would have known. Pearson v. Callahan, 555
U.S. 989, 994 (2009). Qualified immunity protects an officer from suit when a reasonable
decision in the line of duty ends up being a bad guess — in other words, it shields from liability

all but plainly incompetent or those who knowingly violate the law. Justiano v. Walker, 986 F.3d

 

11, 26 (1* Cir. 2021).

To defeat a defense of qualified immunity, a plaintiff must show (1) that the defendant
violated the plaintiff's federal rights and (2) that these rights were so clearly established that a
reasonable officer should have known how they applied to the situation at hand. Id. A police
officer must have objectively reasonable grounds of probable cause in order to be shielded from

civil liability pursuant to qualified immunity. Ricci v. Urso, 974 F. 2d 5, 8 (1. Cir. 2007). This

 

standard is met as long as probable cause is at least arguable. Ricci, 974 F. 2d at 8.

In the case of Ricci v. Urso, 974 F. 2d 5, (1 Cir. 2007), the court found that the police
did not achieve qualified immunity to shield them from civil liability because they arrested Ricci
without probable cause. The police pointed to only two facts that offered them an objectively
reasonable basis for fatally believing that probable cause existed. Ricci, 974 F. 2d at 7. The first
fact is that they found an address book with the Ricci’s name in it. The court noted that many
people keep address books in their home and Ricci’s name being in an address book gives no
indication of criminal activity. Id at 7. Secondly, the police recorded Ricci’s voice while he was
in custody and compared it to a previous recording of whom the police believed to be the
suspect. Id. The court found the police used unreliable tape recordings and thus, could not use
the recordings as a sufficient basis for probable cause. Id. Therefore, the police officers did not

have objectively reasonable grounds for probable cause and thus were not protected by qualified

immunity.

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In the within case, Lt. Smith and the other Police officers pointed to unreliable facts that
do not give a reasonable belief of probable cause nor make the presence of probable cause
arguable. Lt. Smith obtained zero information to establish probable cause to order the arrest of
Thomas. The arresting officers, who are defendants, were determined to arrest Thomas but knew
they did not have probable cause. They then called Lt. Smith for his guidance. Lt. Smith who had
zero knowledge of the scene nor did Lt. Smith inquire about any allegations of elder abuse. Lt.
Smith solely used the unreliable and false statement about Thomas carrying a gun to instruct the
officers to arrest Thomas without probable cause. This unfortunately makes no sense and leads a
reasonable person to believe that probable cause was not present to arrest Thomas for elder
abuse.

Therefore, due to the following alleged facts: Lt. Smith not being present at the scene, Lt.
Smith having zero credible evidence of elder abuse, and understanding the history of the family
dispute, probable cause is not arguable and Lt. Smith is not protected by qualified immunity.

4, Lt. Smith is not protected by “common law” immunity because M. G. L. A.
C. 258 § 10 has effectively abolished common law immunity.

Sovereign immunity was a judicially created common law concept and judges felt it was
necessary to provide piecemeal exceptions to avoid unjust results when citizens were entitled to
recover from government employees and subsequently courts requested that the legislature take
action to abolish the common law doctrine governmental immunity from tort liability. Morrissey
v. New England Deaconess Ass’n—Abundant Life Communities, Inc.. 458 Mass. 580, 587
(year). As consequence of the courts constant criticism and judicial made exceptions to common

law immunity, the legislature enacted M. G. L A. c. 258 S 10, thereby allowing Plaintiffs with

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valid tort claims to recover damages against the Commonwealth and other public employees.
Morrissey, 458 Mass at 588.

Therefore, Lt. Smith is unable to assert common law immunity because M. G. L. A c. 258
§10 has abolished said immunity and it is improper for Lt. Smith to include such defense in his
pleadings.

CONCLUSION

Tricia Thomas went from spending a beautiful day with her children on Mother’s day, to
being racially insulted, slammed against the ground, and unjustly arrested in the presence of her
children. In light of the court considering Thomas’s allegations as true, Thomas sufficiently
pleaded claims in which she is entitled to relief. Thomas respectfully requests this court to deny

defendant’s Motion for Judgement on the Pleadings.

Plaintiff reserves the right to supplement and/or amend this motion.

Respectfully Submitted by,
Plaintiff Tricia Thomas,
By her Attorneys,

OO AAL.

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CERTIFICATE OF SERVICE
I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on September 16, 2021.
Nieve Anjomi, Esq.

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